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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

Belinda Hill,                                    Case No.:

                 Plaintiff,

      vs.                                        COMPLAINT

Equifax Information Services, LLC,
a Georgia limited liability company,             JURY TRIAL DEMAND

Trans Union, LLC,
an Illinois limited liability company, and

First Premier Bank,
a foreign bank,


                Defendants.



      NOW COMES THE PLAINTIFF, BELINDA HILL, BY AND THROUGH

COUNSEL, Matthew Landreau, Esq., and for her Complaint against the Defendants,

pleads as follows:



                                 JURISDICTION

   1. Jurisdiction of this court arises under 15 U.S.C. §1681p.

   2. This is an action brought by a consumer for violation of the Fair Credit

      Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).

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                                  VENUE

3. The transactions and occurrences which give rise to this action occurred in the

   City of Atlanta, DeKalb County, Georgia.

4. Venue is proper in the Northern District of Georgia, Atlanta Division.



                                 PARTIES

5. Plaintiff is a natural person residing in City of Atlanta, DeKalb County,

   Georgia.

6. The Defendants to this lawsuit are:

      a. Equifax Information Services, LLC (“Equifax”) is a Georgia limited

         liability company that conducts business in the State of Georgia;

      b. Trans Union, LLC (“Trans Union”) is a foreign limited liability

         company that conducts business in the State of Georgia; and

      c. First Premier Bank (“First Premier”) is a foreign bank that conducts

         business in the State of Georgia.


                       GENERAL ALLEGATIONS

7. First Premier is inaccurately reporting its Tradelines (“Errant Tradelines”)

   with an erroneous notation of “account in dispute” on Plaintiff's Equifax and

   Trans Union credit disclosures.
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8. Plaintiff no longer disputes the Errant Tradeline.

9. On May 29, 2020, Plaintiff obtained her Equifax and Trans credit disclosures

   and noticed the Errant Tradelines inaccurately reporting with an erroneous

   notation of “account in dispute.”

10.On or about July 2, 2020, Plaintiff submitted a letter to Equifax and Trans

   Union, requesting the credit bureaus to remove the notation of “account in

   dispute.”

11.Equifax and Trans Union forwarded Plaintiff’s consumer dispute to First

   Premier.

12.First Premier received Plaintiff’s consumer dispute from Equifax and Trans

   Union.

13.Equifax, Trans Union and First Premier did not consult the Credit Reporting

   Resource Guide as part of its investigation of Plaintiff’s dispute.

14.Plaintiff had not received Equifax’s and Trans Union’s investigation results.

   Therefore, on August 21, 2020, Plaintiff obtained her Equifax and Trans

   Union credit disclosures, which showed that Equifax, Trans Union and First

   Premier failed or refused to remove the notation of “account in dispute.”

15.As a direct and proximate cause of the Defendants’ negligent and/or willful

   failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681,

   et seq., Plaintiff has suffered credit and emotional damages. Plaintiff has also


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    experienced undue stress and anxiety due to Defendants’ failure to correct the

    errors in her credit files or improve her financial situation by obtaining new

    or more favorable credit terms as a result of the Defendants’ violations of the

    FCRA.

                                   COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                    FIRST PREMIER

 16. Plaintiff realleges the above paragraphs as if recited verbatim.

 17.After being informed by Equifax and Trans Union of Plaintiff’s consumer

    dispute of the erroneous notations, First Premier negligently failed to conduct

    a proper investigation of Plaintiff’s dispute as required by 15 USC 1681s-2(b).

 18.First Premier negligently failed to review all relevant information available to

    it and provided by Equifax and Trans Union in conducting its reinvestigation

    as required by 15 USC 1681s-2(b) and failed to direct Equifax and Trans

    Union to remove the notation of “account in dispute.” .

 19.The Errant Tradelines are inaccurate and creates a misleading impression on

    Plaintiff’s consumer credit files with Equifax and Trans Union to which it is

    reporting such tradelines.

 20.As a direct and proximate cause of First Premier’s negligent failure to perform

    its duties under the FCRA, Plaintiff has suffered damages, mental anguish,

    suffering, humiliation, and embarrassment.
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   21.First Premier is liable to Plaintiff by reason of its violations of the FCRA in

      an amount to be determined by the trier of fact together with reasonable

      attorneys’ fees pursuant to 15 USC 1681o.

   22.Plaintiff has a private right of action to assert claims against First Premier

      arising under 15 USC 1681s-2(b).

      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against the Defendant First Premier for damages, costs, interest, and attorneys’ fees.



                                     COUNT II

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                    FIRST PREMIER

   23. Plaintiff realleges the above paragraphs as if recited verbatim.

   24.After being informed by Equifax and Trans Union that Plaintiff disputed the

      accuracy of the information it was providing, First Premier willfully failed to

      conduct a proper reinvestigation of Plaintiff’s dispute, and willfully failed to

      direct Equifax and Trans Union to remove the notation of “account in

      dispute.”

   25.First Premier willfully failed to review all relevant information available to it

      and provided by Equifax and Trans Union as required by 15 USC 1681s-2(b).




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   26.As a direct and proximate cause of First Premier’s willful failure to perform

      its duties under the FCRA, Plaintiff has suffered damages, mental anguish,

      suffering, humiliation, and embarrassment.

   27.First Premier is liable to Plaintiff for either statutory damages or actual

      damages she has sustained by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact, together with an award of

      punitive damages in the amount to be determined by the trier of fact, as well

      as for reasonable attorneys’ fees and costs she may recover therefore pursuant

      to 15 USC 1681n.

      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against the Defendant First Premier for the greater of statutory or actual damages,

plus punitive damages, along with costs, interest, and attorneys’ fees.

                                    COUNT III

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY EQUIFAX

   28.Plaintiff realleges the above paragraphs as if recited verbatim.

   29.Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   30.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.
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   31.Equifax negligently failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information it reported to one or

      more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

   32. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Equifax

      negligently failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.

   33.As a direct and proximate cause of Equifax’s negligent failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   34.Equifax is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier of fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681o.


      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Equifax for actual damages, costs, interest, and attorneys’ fees.


                                    COUNT IV

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                       BY EQUIFAX

   35.Plaintiff realleges the above paragraphs as if recited verbatim.




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36.Defendant Equifax prepared, compiled, issued, assembled, transferred,

   published, and otherwise reproduced consumer reports regarding Plaintiff as

   that term is defined in 15 USC 1681a.

37.Such reports contained information about Plaintiff that was false, misleading,

   and inaccurate.

38.Equifax willfully failed to maintain and/or follow reasonable procedures to

   assure maximum possible accuracy of the information that it reported to one

   or more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

39. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Equifax

   willfully failed to conduct a reasonable reinvestigation as required by 15

   U.S.C. 1681i.

40.As a direct and proximate cause of Equifax’s willful failure to perform its

   duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

   and suffering, humiliation, and embarrassment.

41.Equifax is liable to Plaintiff by reason of its violations of the FCRA in an

   amount to be determined by the trier of fact together with her reasonable

   attorneys’ fees pursuant to 15 USC 1681n.




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      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Defendant Equifax for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.

                                     COUNT V

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                    BY TRANS UNION

   42.Plaintiff realleges the above paragraphs as if recited verbatim.

   43.Defendant Trans Union prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   44.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   45.Trans Union negligently failed to maintain and/or follow reasonable

      procedures to assure maximum possible accuracy of the information it

      reported to one or more third parties pertaining to Plaintiff, in violation of 15

      USC 1681e(b).

   46. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Trans

      Union negligently failed to conduct a reasonable reinvestigation as required

      by 15 U.S.C. 1681i.




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   47.As a direct and proximate cause of Trans Union’s negligent failure to perform

      its duties under the FCRA, Plaintiff has suffered actual damages, mental

      anguish and suffering, humiliation, and embarrassment.

   48.Trans Union is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier of fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681o.


      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Trans Union for actual damages, costs, interest, and attorneys’ fees.


                                    COUNT VI

   WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                    BY TRANS UNION

   49.Plaintiff realleges the above paragraphs as if recited verbatim.

   50.Defendant Trans Union prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   51.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   52.Trans Union willfully failed to maintain and/or follow reasonable procedures

      to assure maximum possible accuracy of the information that it reported to



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      one or more third parties pertaining to Plaintiff, in violation of 15 USC

      1681e(b).

   53. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Trans

      Union willfully failed to conduct a reasonable reinvestigation as required by

      15 U.S.C. 1681i.

   54.As a direct and proximate cause of Trans Union’s willful failure to perform

      its duties under the FCRA, Plaintiff has suffered actual damages, mental

      anguish and suffering, humiliation, and embarrassment.

   55.Trans Union is liable to Plaintiff by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681n.



      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Defendant Trans Union for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.


                                 JURY DEMAND

      Plaintiff hereby demands a trial by Jury.



DATED: October 29, 2020

                                              By: /s/ Matthew Landreau
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